                   Case:
                Case     24-40248 Document
                     2:11-cv-00084 Document: 179 Filed
                                           1602     Page: 1 Date in
                                                       on 11/07/24 Filed:
                                                                     TXSD 11/07/2024
                                                                             Page 1 of 2


   United States Courts
 Southern District of Texas
           FILED
        11/07/2024
                               United States Court of Appeals
                                    for the Fifth Circuit
                                                                             United States Court of Appeals
Nathan Ochsner, Clerk of Court                                                        Fifth Circuit


                                              _____________ FILED
                                                                             November 7, 2024
                                                No. 24-40248                   Lyle W. Cayce
                                              _____________                         Clerk

                   M. D., by next friend Sarah R. Stukenberg; D. I., by next
                   friend Nancy G. Pofahl; Z. H., by next friend Carla B.
                   Morrison; S. A., by next friend Javier Solis; A. M., by
                   next friend Jennifer Talley; J. S., by next friend Anna J.
                   Ricker; K. E., as next friend John W. Cliff, Jr.; M. R., as next
                   friend Bobbie M. Young; J. R., as next friend Bobbie M. Young;
                   H. V., by next friend Anna J. Ricker; P. O., as next friend
                   Anna J. Ricker; L. H., as next friend Estela C. Vasquez; C. H.,
                   by next friend Estela C. Vasquez; S. R., as next friend Bobbie
                   M. Young; S. S., as next friend Estela C. Vasquez; A. R., as next
                   friend Tom McKenzie, individually and on behalf of all others similarly
                   situated,


                                                                      Plaintiffs—Appellees,


                                                    versus


                   Greg Abbott, in his official capacity as Governor of the State of Texas;
                   Cecile Erwin Young, in her official capacity as Executive Commissioner
                   of the Health and Human Services Commission of the State of Texas;
                   Stephanie Muth, in her official capacity as Commissioner of Texas
                   Department of Family and Protective Services,


                                                                   Defendants—Appellants.

                                ________________________________
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                                       on 11/07/24 Filed:
                                                     TXSD 11/07/2024
                                                             Page 2 of 2
                                 No. 24-40248




                Appeal from the United States District Court
                    for the Southern District of Texas
                          USDC No. 2:11-CV-84
               ________________________________

  ORDER:
        A judge of this Court withholds issuance of the mandate in this appeal.



                              LYLE W. CAYCE, CLERK
                              United States Court of Appeals
                                   for the Fifth Circuit
                                   /s/ Lyle W. Cayce

               ENTERED AT THE DIRECTION OF THE COURT




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